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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  INVENSAS CORPORATION,

                         Plaintiff,
                                                            Case No. 2:17-cv-00670 [RWS/RSP]
         v.

  SAMSUNG ELECTRONICS CO., LTD. AND                         Jury Trial Requested
  SAMSUNG ELECTRONICS AMERICA,
  INC.,
                Defendants.



  SAMSUNG ELECTRONICS CO., LTD. AND SAMSUNG ELECTRONICS AMERICA,
       INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                 COMPLAINT FOR PATENT INFRINGEMENT

        Defendants Samsung Electronics Company, Ltd. (“SEC”) and Samsung Electronics

 America, Inc. (“SEA”) (collectively, “Samsung”), by and through the undersigned attorneys, for

 their Answer and Affirmative Defenses to the Complaint for Patent Infringement filed on

 September 28, 2017 (“Complaint”) by Plaintiff Invensas Corporation (“Plaintiff”) admit and

 deny as follows. Except as hereinafter specifically admitted, qualified, or affirmatively alleged,

 Samsung denies each and every allegation, matter, or thing contained in the Complaint and states

 in response to each of the numbered paragraphs of said Complaint as follows:

                                      NATURE OF THE ACTION

        1.      Samsung admits that Plaintiff’s Complaint states that this is a civil action for

 alleged infringement of U.S. Patent Nos. 6,232,231 (the “’231 Patent”); 6,849,946 (the “’946

 Patent”); 6,054,336 (the “’336 Patent”); 6,566,167 (the “’167 Patent”); and 6,825,554 (the “’554

 Patent”) (collectively, the “Asserted Patents”). Except as expressly admitted, Samsung denies
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 each and every allegation in Paragraph 1, and specifically denies that it has committed or is

 committing any act of patent infringement.

                                          THE PARTIES

        2.      Samsung is without information sufficient to form a belief as to the truth of the

 allegations of Paragraph 2, and on that basis Samsung denies them.

        3.      Samsung admits that SEC is a corporation organized under the laws of the

 Republic of Korea with its principal place of business at 129 Samsung-ro, Yeongtong-gu,

 Suwon-si, Gyeonggi-do, 443-742, Republic of Korea.

        4.      Samsung admits that SEA is a wholly-owned subsidiary of SEC and is

 incorporated under the laws of New York with its principal place of business at 85 Challenger

 Road, Ridgefield Park, New Jersey 07660. Samsung admits that SEA maintains a registered

 agent called The Corporation Trust Company, located at 111 Eighth Avenue, New York, New

 York 10011.

        5.      Samsung admits that SEC and SEA are related entities in that SEA is a wholly

 owned subsidiary of SEC. Except as expressly admitted, Samsung denies each and every

 allegation in Paragraph 5, and Samsung specifically denies that it has committed or is

 committing any act of patent infringement.

                                 JURISDICTION AND VENUE

        6.      Samsung admits that this Court has subject matter jurisdiction over Plaintiff’s

 claims pursuant to 28 U.S.C. §§ 1331 and 1338(a). Except as expressly admitted, Samsung

 denies each and every allegation in Paragraph 6 and specifically denies that it has committed or

 is committing any act of patent infringement.




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        7.       Samsung admits, for purposes of this action only, that this Court has specific

 personal jurisdiction over Samsung. Except as expressly admitted, Samsung denies each and

 every allegation in Paragraph 7, and specifically denies that it has committed or is committing

 any act of patent infringement.

        8.       Samsung expressly reserves all rights to contest whether the Eastern District of

 Texas is a proper and convenient forum under, among others, the doctrine of forum non

 conveniens, particularly in light of the fact that, on the same day that this action was filed,

 Plaintiff also sued SEC on the ’231 and ’946 Patents in the District of Delaware, and to seek

 appropriate relief, including transfer. Except as expressly admitted, Samsung denies each and

 every allegation in Paragraph 8.

        9.       Samsung admits, for purposes of this action only, that venue in this Court is

 proper as to SEA, although Samsung expressly reserves the right to contest whether the Eastern

 District of Texas is a convenient forum under, among others, the doctrine of forum non

 conveniens. Samsung admits that SEA has an office located at 1301 East Lookout Drive,

 Richardson, Texas 75082 and that said office is located in Collin County. Samsung admits that

 SEA employs full-time personnel, including engineers and senior managers, in that office.

 Except as expressly admitted, Samsung denies each and every allegation in Paragraph 9, and

 Samsung specifically denies that it has committed or is committing any act of patent

 infringement.

                                    THE ASSERTED PATENTS

        10.      Samsung admits that the ’231 Patent bears the title of “Planarized Semiconductor

 Interconnect Topography And Method For Polishing A Metal Layer To Form Interconnect,”

 states that it issued on May 15, 2001, and lists on its face the alleged inventors Anantha R.




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 Sethuraman and Christopher A. Seams. Samsung is without information sufficient to form a

 belief as to the truth of the remaining allegations of Paragraph 10, and on that basis Samsung

 denies them.

        11.     Samsung admits that the ’946 Patent bears the title of “Planarized Semiconductor

 Interconnect Topography And Method For Polishing A Metal Layer To Form Interconnect,”

 states that it issued on February 1, 2005, and lists on its face the alleged inventors Anantha R.

 Sethuraman and Christopher A. Seams. Samsung is without information sufficient to form a

 belief as to the truth of the remaining allegations of Paragraph 11, and on that basis Samsung

 denies them.

        12.     Samsung admits that the ’336 Patent bears the title of “Method Of Manufacturing

 An Electronic Device,” states that it issued on April 25, 2000, and lists on its face the alleged

 inventors Hermanus L. Peek and Daniel W.E. Verbugt. Samsung is without information

 sufficient to form a belief as to the truth of the remaining allegations of Paragraph 12, and on that

 basis Samsung denies them.

        13.     Samsung admits that the ’167 Patent bears the title of “PBGA Electrical Noise

 Isolation Of Signal Traces,” states that it issued on May 20, 2003, and lists on its face the alleged

 inventors Wee K. Liew, Aritharan Thurairajaratnam, and Nadeem Haque. Samsung is without

 information sufficient to form a belief as to the truth of the remaining allegations of Paragraph

 13, and on that basis Samsung denies them.

        14.     Samsung admits that the ’554 Patent bears the title of “PBGA Electrical Noise

 Isolation Of Signal Traces,” states that it issued on November 30, 2004, and lists on its face the

 alleged inventors Wee K. Liew, Aritharan Thurairajaratnam, and Nadeem Haque. Samsung is




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 without information sufficient to form a belief as to the truth of the remaining allegations of

 Paragraph 14, and on that basis Samsung denies them.

                    CLAIMS FOR ALLEGED PATENT INFRINGEMENT

        15.     Paragraph 15’s statements are not factual allegations, and accordingly Samsung is

 not required to provide responses. To the extent that Paragraph 15’s statements are considered

 factual allegations, Samsung is without information sufficient to form a belief as to the truth of

 those allegations, and on that basis Samsung denies them.

        16.     Samsung admits that Plaintiff purports to identify accused products in Paragraph

 16. Except as expressly admitted, Samsung denies each and every allegation set forth in

 Paragraph 16, and Samsung specifically denies that it has committed or is committing any act of

 patent infringement.

        17.     Samsung admits that Plaintiff has sued Samsung affiliates, SEC and Samsung

 Austin Semiconductor, LLC, in another judicial district, specifically the District of Delaware,

 alleging infringement of the ’231 and ’946 Patents. Except as expressly admitted, Samsung

 denies each and every allegation set forth in Paragraph 17, and Samsung specifically denies that

 it has committed or is committing any act of patent infringement.

                                   COUNT I
                    ALLEGED INFRINGEMENT OF THE ’231 PATENT

        18.     Samsung incorporates by reference its responses to Plaintiff’s allegations in

 Paragraphs 1 through 17 as if specifically set forth herein. Except as expressly admitted,

 Samsung denies each and every allegation in Paragraph 18.

        19.     Samsung denies each and every allegation set forth in Paragraph 19, and

 specifically denies that it has committed or is committing any act of patent infringement.




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        20.     Samsung admits that Claim 1 of the ’231 Patent recites in the preamble a “method

 for providing a substantially planar semiconductor topography which extends above a plurality

 of electrically conductive features that form an integrated circuit” and that the accused Samsung

 end consumer products, including the Galaxy S6, S7, S8, and Note 8, include certain

 semiconductor chips. Except as expressly admitted, Samsung denies each and every allegation

 set forth in Paragraph 20, and specifically denies that it has committed or is committing any act

 of patent infringement.

        21.     Samsung admits that part of Claim 1 of the ’231 Patent recites “etching a plurality

 of laterally spaced dummy trenches into a dielectric layer between a first trench and a series of

 second trenches” and that the accused Samsung end consumer products, including the Galaxy

 S6, S7, S8, and Note 8, include certain semiconductor chips. Except as expressly admitted,

 Samsung denies each and every allegation set forth in Paragraph 21, and specifically denies that

 it has committed or is committing any act of patent infringement.

        22.     Samsung admits that part of Claim 1 of the ’231 Patent recites “a lateral

 dimension of said first trench is greater than a lateral dimension of said second trenches.”

 Except as expressly admitted, Samsung denies each and every allegation set forth in Paragraph

 22, and specifically denies that it has committed or is committing any act of patent infringement.

        23.     Samsung admits that part of Claim 1 of the ’231 Patent recites “filling said

 dummy trenches and said first and second trenches with a conductive material.” Except as

 expressly admitted, Samsung denies each and every allegation set forth in Paragraph 23, and

 specifically denies that it has committed or is committing any act of patent infringement.

        24.     Samsung admits that part of Claim 1 of the ’231 Patent recites “polishing said

 conductive material to form dummy conductors exclusively in said dummy trenches and




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 interconnect exclusively in said first and second trenches.” Except as expressly admitted,

 Samsung denies each and every allegation set forth in Paragraph 24, and specifically denies that

 it has committed or is committing any act of patent infringement.

            25.   Samsung admits that part of Claim 1 of the ’231 Patent recites “said dummy

 conductors are electrically separate from said plurality of electrically conductive features and co-

 planar with said interconnect.” Except as expressly admitted, Samsung denies each and every

 allegation set forth in Paragraph 25, and specifically denies that it has committed or is

 committing any act of patent infringement.

            26.   Samsung denies each and every allegation set forth in Paragraph 26, and

 specifically denies that it has committed or is committing any act of patent infringement.

            27.   Samsung denies each and every allegation set forth in Paragraph 27. Samsung

 specifically denies that it has committed or is committing any act of patent infringement or that it

 knew, that it should have known that Samsung or customers, distributors, or purchasers of the

 accused products are infringing the ’231 Patent, or that Plaintiff disclosed the existence of the

 ’231 Patent or allegedly infringing activities to Samsung in a form that is admissible into

 evidence or that can be used without breaching a confidentiality obligation that applies to the

 parties.

            28.   Samsung denies each and every allegation set forth in Paragraph 28, and

 specifically denies that it has committed or is committing any act of patent infringement. In

 addition, through prior agreements, Plaintiff has waived in whole or in part its right to seek

 enhanced damages for willful infringement.

            29.   Samsung denies each and every allegation set forth in Paragraph 29, and

 specifically denies that it has committed or is committing any act of patent infringement.




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        30.     Samsung denies each and every allegation set forth in Paragraph 30, and

 specifically denies that it has committed or is committing any act of patent infringement.

                                    COUNT II
                     ALLEGED INFRINGEMENT OF THE ’946 PATENT

        31.     Samsung incorporates by reference its responses to Plaintiff’s allegations in

 Paragraphs 1 through 30 as if specifically set forth herein. Except as expressly admitted,

 Samsung denies each and every allegation in Paragraph 31.

        32.     Samsung denies each and every allegation set forth in Paragraph 32, and

 specifically denies that it has committed or is committing any act of patent infringement.

        33.     Samsung admits that Claim 16 of the ’946 Patent recites in the preamble “[a]

 substantially planar semiconductor topography.” Except as expressly admitted, Samsung denies

 each and every allegation set forth in Paragraph 33, and specifically denies that it has committed

 or is committing any act of patent infringement.

        34.     Samsung admits that part of Claim 16 of the ’946 Patent recites “a plurality of

 laterally spaced dummy trenches in a dielectric layer, between a first trench and a series of

 second trenches” and that the accused Samsung end consumer products, including the Galaxy

 S6, S7, S8, and Note 8, include certain semiconductor chips. Except as expressly admitted,

 Samsung denies each and every allegation set forth in Paragraph 34, and specifically denies that

 it has committed or is committing any act of patent infringement.

        35.     Samsung admits that part of Claim 16 of the ’946 Patent recites “each of the

 second trenches is relatively narrow compared to the first trench” and “a lateral dimension of at

 least one of the laterally spaced dummy trenches is less than a lateral dimension of the first

 trench and greater than a lateral dimension of at least one of the series of second trenches.”




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 Except as expressly admitted, Samsung denies each and every allegation set forth in Paragraph

 35, and specifically denies that it has committed or is committing any act of patent infringement.

            36.   Samsung admits that part of Claim 16 of the ’946 Patent recites “dummy

 conductors in said laterally spaced dummy trenches and electrically separate from electrically

 conductive features below said dummy conductors.” Except as expressly admitted, Samsung

 denies each and every allegation set forth in Paragraph 36, and specifically denies that it has

 committed or is committing any act of patent infringement.

            37.   Samsung admits that part of Claim 16 of the ’946 Patent recites “conductive lines

 in said series of second trenches and said first trench, wherein upper surfaces of said conductive

 lines are substantially coplanar with dummy conductor upper surfaces.” Except as expressly

 admitted, Samsung denies each and every allegation set forth in Paragraph 37, and specifically

 denies that it has committed or is committing any act of patent infringement.

            38.   Samsung denies each and every allegation set forth in Paragraph 38, and

 specifically denies that it has committed or is committing any act of patent infringement.

            39.   Samsung denies each and every allegation set forth in Paragraph 39. Samsung

 specifically denies that it has committed or is committing any act of patent infringement or that it

 knew, that it should have known that Samsung or customers, distributors, or purchasers of the

 accused products are infringing the ’946 Patent, or that Plaintiff disclosed the existence of the

 ’946 Patent or allegedly infringing activities to Samsung in a form that is admissible into

 evidence or that can be used without breaching a confidentiality obligation that applies to the

 parties.

            40.   Samsung denies each and every allegation set forth in Paragraph 40, and

 specifically denies that it has committed or is committing any act of patent infringement. In




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  addition, through prior agreements, Plaintiff has waived in whole or in part its right to seek

  enhanced damages for willful infringement.

         41.     Samsung denies each and every allegation set forth in Paragraph 41, and

  specifically denies that it has committed or is committing any act of patent infringement.

         42.     Samsung denies each and every allegation set forth in Paragraph 42, and

  specifically denies that it has committed or is committing any act of patent infringement.

                                     COUNT III
                      ALLEGED INFRINGEMENT OF THE ’336 PATENT

         43.     Samsung incorporates by reference its responses to Plaintiff’s allegations in

  Paragraphs 1 through 42 as if specifically set forth herein. Except as expressly admitted,

  Samsung denies each and every allegation in Paragraph 43.

         44.     Samsung denies each and every allegation set forth in Paragraph 44, and

  specifically denies that it has committed or is committing any act of patent infringement.

         45.     Samsung admits that Claim 1 of the ’336 Patent recites in the preamble “method

  of manufacturing conductor tracks on an electronic device” and that part of Claim 1 recites

  “providing an electrically insulating substrate.” Samsung admits that certain of the accused

  Samsung end consumer products, including the Galaxy S6, S7, and S8, include LPDDR4 or

  LPDDR4X DRAM memory. Except as expressly admitted, Samsung denies each and every

  allegation set forth in Paragraph 45, and specifically denies that it has committed or is

  committing any act of patent infringement.

         46.     Samsung admits that part of Claim 1 of the ’336 Patent recites “providing a

  conductive layer on the substrate.” Except as expressly admitted, Samsung denies each and

  every allegation set forth in Paragraph 46, and specifically denies that it has committed or is

  committing any act of patent infringement.



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         47.     Samsung admits that part of Claim 1 of the ’336 Patent recites “forming a

  conductor pattern on the conductive layer by forming windows at the conductor layer.” Except

  as expressly admitted, Samsung denies each and every allegation set forth in Paragraph 47, and

  specifically denies that it has committed or is committing any act of patent infringement.

         48.     Samsung admits that part of Claim 1 of the ’336 Patent recites “the step of

  forming the windows at the conductor layer comprising: providing a first dielectric layer

  adjacent the substrate and having a thickness.” Except as expressly admitted, Samsung denies

  each and every allegation set forth in Paragraph 48, and specifically denies that it has committed

  or is committing any act of patent infringement.

         49.     Samsung admits that part of Claim 1 of the ’336 Patent recites “the step of

  forming the windows at the conductor layer comprising . . . forming auxiliary windows in the

  first dielectric layer having dimensions which are greater, in at least one dimension, than the

  windows to be formed at the conductor layer, the auxiliary windows having sidewalls which

  define a depth of the auxiliary windows which depth is only part of the thickness of the first

  dielectric layer.” Except as expressly admitted, Samsung denies each and every allegation set

  forth in Paragraph 49, and specifically denies that it has committed or is committing any act of

  patent infringement.

         50.     Samsung admits that part of Claim 1 of the ’336 Patent recites “the step of

  forming the windows at the conductor layer comprising . . . providing an additional dielectric

  layer on the first dielectric layer including over the auxiliary windows formed in the first

  dielectric layer.” Except as expressly admitted, Samsung denies each and every allegation set

  forth in Paragraph 50, and specifically denies that it has committed or is committing any act of

  patent infringement.




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             51.   Samsung admits that part of Claim 1 of the ’336 Patent recites “the step of

  forming the windows at the conductor layer comprising . . . etching the additional dielectric layer

  back anisotropically without a mask to form spacers on the sidewalls of the auxiliary windows,

  which spacers are formed by unetched portions of the additional dielectric layer.” Except as

  expressly admitted, Samsung denies each and every allegation set forth in Paragraph 51, and

  specifically denies that it has committed or is committing any act of patent infringement.

             52.   Samsung admits that part of Claim 1 of the ’336 Patent recites “the step of

  forming the windows at the conductor layer comprising . . . continuing etching anisotropically

  through the auxiliary window and the spacers to define the windows at the conductive layer.”

  Except as expressly admitted, Samsung denies each and every allegation set forth in Paragraph

  52, and specifically denies that it has committed or is committing any act of patent infringement.

             53.   Samsung denies each and every allegation set forth in Paragraph 53, and

  specifically denies that it has committed or is committing any act of patent infringement.

             54.   Samsung denies each and every allegation set forth in Paragraph 54. Samsung

  specifically denies that it has committed or is committing any act of patent infringement or that it

  knew, that it should have known that Samsung or customers, distributors, or purchasers of the

  accused products are infringing the ’336 Patent, or that Plaintiff disclosed the existence of the

  ’336 Patent or allegedly infringing activities to Samsung in a form that is admissible into

  evidence or that can be used without breaching a confidentiality obligation that applies to the

  parties.

             55.   Samsung denies each and every allegation set forth in Paragraph 55, and

  specifically denies that it has committed or is committing any act of patent infringement.




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         56.     Samsung denies each and every allegation set forth in Paragraph 56, and

  specifically denies that it has committed or is committing any act of patent infringement.

                                    COUNT IV
                     ALLEGED INFRINGEMENT OF THE ’167 PATENT

         57.     Samsung incorporates by reference its responses to Plaintiff’s allegations in

  Paragraphs 1 through 56 as if specifically set forth herein. Except as expressly admitted,

  Samsung denies each and every allegation in Paragraph 57.

         58.     Samsung denies each and every allegation set forth in Paragraph 58, and

  specifically denies that it has committed or is committing any act of patent infringement.

         59.     Samsung admits that Claim 1 of the ’167 Patent recites in the preamble “[a]

  method for fabricating a semiconductor package” and that the accused Samsung end consumer

  products, including the Galaxy S8, contain semiconductor packages. Except as expressly

  admitted, Samsung denies each and every allegation set forth in Paragraph 59, and specifically

  denies that it has committed or is committing any act of patent infringement.

         60.     Samsung admits that part of Claim 1 of the ’167 Patent recites “providing a 2-

  layer semiconductor substrate, the 2-layer substrate including a top layer and a bottom layer

  wherein the bottom layer includes an array of solder balls,” and that the accused Samsung end

  consumer products, including the Galaxy S8, contain certain semiconductor packages that

  include a substrate. Except as expressly admitted, Samsung denies each and every allegation set

  forth in Paragraph 60, and specifically denies that it has committed or is committing any act of

  patent infringement.

         61.     Samsung admits that part of Claim 1 of the ’167 Patent recites “patterning signal

  traces on the top layer,” and that the accused Samsung end consumer products, including the

  Galaxy S8, contain semiconductor packages fabricated using a method that includes the step of



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  patterning. Except as expressly admitted, Samsung denies each and every allegation set forth in

  Paragraph 61, and specifically denies that it has committed or is committing any act of patent

  infringement.

         62.      Samsung admits that part of Claim 1 of the ’167 Patent recites “identifying groups

  of signal traces to isolate.” Except as expressly admitted, Samsung denies each and every

  allegation set forth in Paragraph 62, and specifically denies that it has committed or is

  committing any act of patent infringement.

         63.      Samsung admits that part of Claim 1 of the ’167 Patent recites “patterning a

  grounded isolation trace adjacent to one of the groups of traces to isolate the signal traces and

  thereby provide noise shielding.” Except as expressly admitted, Samsung denies each and every

  allegation set forth in Paragraph 63, and specifically denies that it has committed or is

  committing any act of patent infringement.

         64.      Samsung admits that part of Claim 1 of the ’167 Patent recites “identifying a row

  of solder balls to be grounded,” and that the accused Samsung end consumer products, including

  the Galaxy S8, contain semiconductor packages fabricated using a method that includes a step of

  grounding certain solder balls. Except as expressly admitted, Samsung denies each and every

  allegation set forth in Paragraph 64, and specifically denies that it has committed or is

  committing any act of patent infringement.

         65.      Samsung admits that part of Claim 1 of the ’167 Patent recites “connecting the

  row of solder balls together and to ground to create a bottom-layer isolating ground trace.”

  Except as expressly admitted, Samsung denies each and every allegation set forth in Paragraph

  65, and specifically denies that it has committed or is committing any act of patent infringement.




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             66.   Samsung denies each and every allegation set forth in Paragraph 66, and

  specifically denies that it has committed or is committing any act of patent infringement.

             67.   Samsung denies each and every allegation set forth in Paragraph 67. Samsung

  specifically denies that it has committed or is committing any act of patent infringement or that it

  knew, that it should have known that Samsung or customers, distributors, or purchasers of the

  accused products are infringing the ’167 Patent, or that Plaintiff disclosed the existence of the

  ’167 Patent or allegedly infringing activities to Samsung in a form that is admissible into

  evidence or that can be used without breaching a confidentiality obligation that applies to the

  parties.

             68.   Samsung denies each and every allegation set forth in Paragraph 68, and

  specifically denies that it has committed or is committing any act of patent infringement. In

  addition, through prior agreements, Plaintiff has waived in whole or in part its right to seek

  enhanced damages for willful infringement.

             69.   Samsung denies each and every allegation set forth in Paragraph 69, and

  specifically denies that it has committed or is committing any act of patent infringement.

             70.   Samsung denies each and every allegation set forth in Paragraph 70, and

  specifically denies that it has committed or is committing any act of patent infringement.

                                      COUNT V
                       ALLEGED INFRINGEMENT OF THE ’554 PATENT

             71.   Samsung incorporates by reference its responses to Plaintiff’s allegations in

  Paragraphs 1 through 70 as if specifically set forth herein. Except as expressly admitted,

  Samsung denies each and every allegation in Paragraph 71.

             72.   Samsung denies each and every allegation set forth in Paragraph 72, and

  specifically denies that it has committed or is committing any act of patent infringement.



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         73.     Samsung admits that Claim 1 of the ’554 Patent recites in the preamble “package

  substrate having noise control,” and that the accused Samsung end consumer products, including

  the Galaxy S8, contain semiconductor packages that include a package substrate. Except as

  expressly admitted, Samsung denies each and every allegation set forth in Paragraph 73.

         74.     Samsung admits that part of Claim 1 of the ’554 Patent recites “at most two

  layers” and that the accused Samsung end consumer products, including the Galaxy S8, contain

  semiconductor packages that include a package substrate. Except as expressly admitted,

  Samsung denies each and every allegation set forth in Paragraph 74, and specifically denies that

  it has committed or is committing any act of patent infringement.

         75.     Samsung admits that part of Claim 1 of the ’554 Patent recites “a plurality of

  signal traces on a first layer,” and that the accused Samsung end consumer products, including

  the Galaxy S8, contain semiconductor packages that include a plurality of signal traces. Except

  as expressly admitted, Samsung denies each and every allegation set forth in Paragraph 75, and

  specifically denies that it has committed or is committing any act of patent infringement.

         76.     Samsung admits that part of Claim 1 of the ’554 Patent recites “at least one

  isolating ground trace on the first layer between two signal traces to provide noise shielding.”

  Except as expressly admitted, Samsung denies each and every allegation set forth in Paragraph

  76, and specifically denies that it has committed or is committing any act of patent infringement.

         77.     Samsung admits that part of Claim 1 of the ’554 Patent recites “an array of solder

  balls on a second layer such that at least one row of solder balls is connected together and to

  ground to create a second-layer isolating ground trace.” Except as expressly admitted, Samsung

  denies each and every allegation set forth in Paragraph 77, and specifically denies that it has

  committed or is committing any act of patent infringement.




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             78.   Samsung denies each and every allegation set forth in Paragraph 78. Samsung

  specifically denies that it has committed or is committing any act of patent infringement or that it

  knew, that it should have known that Samsung or customers, distributors, or purchasers of the

  accused products are infringing the ’554 Patent, or that Plaintiff disclosed the existence of the

  ’554 Patent or allegedly infringing activities to Samsung in a form that is admissible into

  evidence or that can be used without breaching a confidentiality obligation that applies to the

  parties.

             79.   Samsung denies each and every allegation set forth in Paragraph 79, and

  specifically denies that it has committed or is committing any act of patent infringement. In

  addition, through prior agreements, Plaintiff has waived in whole or in part its right to seek

  enhanced damages for willful infringement.

             80.   Samsung denies each and every allegation set forth in Paragraph 80, and

  specifically denies that it has committed or is committing any act of patent infringement.

             81.   Samsung denies each and every allegation set forth in Paragraph 81, and

  specifically denies that it has committed or is committing any act of patent infringement.

                                            JURY DEMAND

             82.   To the extent a response is required, Samsung admits that Plaintiff’s Complaint

  contains a request for a jury trial.

                      RESPONSE TO PLAINTIFF’S PRAYER FOR RELIEF

             83.   To the extent a response is required, Samsung denies that Plaintiff is entitled to

  any of its requested relief. Samsung specifically denies that it, directly or indirectly, literally or

  under the doctrine of equivalents, has infringed or is infringing any of the Asserted Patents;

  specifically denies that Plaintiff is entitled to any award of damages, compensatory or otherwise;




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  specifically denies that it has willfully infringed any of the Asserted Patents; specifically denies

  that Plaintiff is entitled to attorneys’ fees; specifically denies that Plaintiff is entitled to pre-

  judgment interest; specifically denies that Plaintiff is entitled to post-judgment interest;

  specifically denies that Plaintiff is entitled to an accounting and/or supplemental damages;

  specifically denies that Plaintiff is entitled to costs and expenses; and specifically denies that

  Plaintiff is entitled to any other relief in this action.

                                           GENERAL DENIAL

          84.     To the extent that any allegations of the Complaint are not specifically admitted,

  Samsung hereby denies them.

                                      AFFIRMATIVE DEFENSES

          85.     Without admitting or acknowledging that Samsung bears the burden of proof as to

  any of them and reserving the right to amend its answer as additional information becomes

  available, Samsung pleads the following defenses:

                                             FIRST DEFENSE

          86.     Samsung has not engaged in any acts that would constitute direct or indirect

  infringement of any valid claim of the Asserted Patents, either literally or under the doctrine of

  equivalents, willfully or otherwise.

                                           SECOND DEFENSE

          87.     The claims of each of the Asserted Patents are invalid for failure to satisfy the

  conditions of patentability set forth in 35 U.S.C. §§ 101 et seq., including at least sections 101,

  102, 103, 112, and 116.




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                                          THIRD DEFENSE

         88.     Plaintiff is barred or limited from recovery in whole or in part by the doctrine of

  prosecution history estoppel.

                                        FOURTH DEFENSE

         89.     Plaintiff is barred or limited from recovery in whole or in part by the doctrines of

  estoppel, waiver, acquiescence, patent misuse, and/or unclean hands.

                                          FIFTH DEFENSE

         90.     Plaintiff’s right to seek damages are limited by statute because it may not recover

  money damages for any alleged infringement committed more than six years prior to the filing of

  its Complaint under of 35 U.S.C. § 286.

                                          SIXTH DEFENSE

         91.     Plaintiff’s claims for relief are barred or limited under the doctrines of exhaustion,

  first sale, implied license, full compensation, or restrictions against double recovery.

                                        SEVENTH DEFENSE

         92.     Plaintiff’s claims of infringement by Samsung are barred or limited because

  Plaintiff has granted Samsung express licenses that cover the Asserted Patents and accused

  products.

         93.     As one example, as part of a patent license agreement entered between Plaintiff

  and Samsung in January 2014, Plaintiff granted Samsung a license that encompassed the

  Asserted Patents and the products accused in Plaintiff’s Complaint, and this license provides a

  complete defense to Plaintiff's asserted claims of infringement based on those products.




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                                         EIGHTH DEFENSE

         94.     To the extent that Plaintiff’s claims are directed to acts occurring outside the

  United States, those claims for relief are barred or limited by the doctrine of territoriality by 35

  U.S.C. § 271 et seq., including but not limited to § 271(a) and (c).

                                          NINTH DEFENSE

         95.     Plaintiff is not entitled to recover attorneys’ fees associated with this action under

  35 U.S.C. § 285 or costs associated with this action under 35 U.S.C. § 288.

                                          TENTH DEFENSE

         96.     Plaintiff’s claims are barred in whole or in part from recovering damages by a

  failure by the owner and/or licensee of the Asserted Patents to mark relevant products as required

  by 35 U.S.C. § 287.

                                       ELEVENTH DEFENSE

         97.     To the extent that Plaintiff lacks all substantive rights to bring suit and to exclude

  others from practicing the claims of any Asserted Patents, Plaintiff’s claims are barred by a lack

  of standing.

                                        TWELFTH DEFENSE

         98.     Plaintiff has failed to state a claim upon which relief can be granted.

                                      THIRTEENTH DEFENSE

         99.     To the extent that the alleged invention has been used or manufactured by or for

  the United States, the claims for relief are barred or limited by 28 U.S.C § 1498.




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                                       FOURTEENTH DEFENSE

         100.      To the extent that Plaintiff seeks injunctive relief, it is not entitled to any

  injunctive relief at least because it has not suffered irreparable injury and has an adequate

  remedy at law.

                                         FIFTEENTH DEFENSE

         101.      Plaintiff is not entitled to seek enhanced damages or attorneys’ fees for willful

  infringement, including because through prior agreements, Plaintiff has waived in whole or in

  part its right to seek enhanced damages for willful infringement.

                           RESERVATION OF ADDITIONAL DEFENSES

         102.      Samsung reserves the right to assert additional defenses that it learns of through

  discovery in this action.

                                 SAMSUNG’S PRAYER FOR RELIEF

         103.      Having answered Plaintiff’s Complaint and having asserted affirmative defenses,

  Samsung respectfully seeks the following relief:

             a. A judgment that Samsung has not infringed any of the Asserted Patents;

             b. A judgment that the Asserted Patents are invalid and/or unenforceable against

                   Samsung;

             c. A judgment declaring this case exceptional under 35 U.S.C. § 285 and awarding

                   Samsung its attorneys’ fees and prejudgment interest, and an award to Samsung

                   of all of their costs of this action; and

             d. Such other relief as the Court shall deem just and proper.

                            SAMSUNG’S DEMAND FOR A JURY TRIAL

         104.      Samsung hereby demands a jury trial on all issues so triable.




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   Dated: December 19, 2017                 Respectfully submitted,

                                            /s/ Ryan K. Yagura

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                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have

  consented to electronic service are being served with a copy of this document via the Court’s

  CM/ECF system per Local Rule CV-5(a)(3) on December 19, 2017. Any other counsel of record

  will be served by facsimile transmission, e-mail and/or first class mail.

                                                               /s/ Melissa R. Smith
                                                               Melissa R. Smith




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